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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



CONRAD SMITH, ET AL.,

                         Plaintiffs,
                  v.                               Case No. 1:21-cv-02265-APM

DONALD J. TRUMP,
DONALD J. TRUMP FOR PRESIDENT, INC.,
ROGER STONE, ET AL.,

                         Defendants.




          DEFENDANT ROGER STONE’S NOTICE OF ADOPTION AND
              MOTION FOR PROTECTIVE ORDER AND STAY




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                                  NOTICE OF ADOPTION

        Defendant Roger Stone received a two-sided 18-page request for production from the

Plaintiffs on December 1, 2022. The requests are broad ranging from “All documents and

communications regarding January 6, 2021” to “All documents regarding the November 2020

Election.” The requests ask for all forms of communication, which would include Electronically

Stored Information. Roger Stone’s dispositive Motion to Dismiss has been pending since January

31, 2022. [ECF Nos. 100, 126]. Stone has strong First Amendment defenses to the Amended

Complaint that were made in the Motion to Dismiss; in addition, he was not present at the Ellipse

or the Capitol on January 6.

       Defendant Roger Stone hereby adopts the Trump Defendants’ motion by reference [ECF

Nos. 170 & 170-1], and reserves the right to raise other objections to the document request

should the Court deny Trump Defendants’ motion. Even through Donald J. Trump’s motion for

protective order relies in large part on a pending appeal regarding presidential immunity, Stone

has independent arguments. Other than an agreed upon extension of time, the parties conferred

and cannot agree on the disposition of Defendant’s motions.

            MOTION FOR PROTECTIVE ORDER AND STAY DISCOVERY

       Defendant Roger Stone has filed a dispositive motion to dismiss in this case. It remains

pending. Presumably, the Court is awaiting the Circuit Court of Appeals ruling on Donald J.

Trump’s motion to dismiss regarding immunities in Blassingame, et al. v. Trump, No. 22-5069.

Accordingly, “[i]t is well settled that discovery is generally considered inappropriate while a

motion that would be thoroughly dispositive of the claims in the Complaint is pending.” Institut

Pasteur v. Chiron Corp., 315 F. Supp. 2d 33, 37 (D.D.C. 2004), judgment entered, CIV.A.03-

0932(JDB), 2005 WL 366968 (D.D.C. Feb. 16, 2005) (citing Anderson v. United States
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Attorney's Office, 1992 WL 159186, at *1 (D.D.C. Jun.19, 1992)). In civil rights actions, like this

one, courts stay discovery pending the ruling on a motion to dismiss or summary judgment; the

ultimate goal being just, speedy and inexpensive determination of every action. Sai v. Dep't of

Homeland Sec., 99 F. Supp. 3d 50, 58 (D.D.C. 2015) (citing Fed. R. Civ. P.1).

        Plaintiffs attempt to move discovery forward when the dispositive motions to dismiss,

include a First Amendment defense, should protect Defendant Stone from the undue burden of

participating in discovery when the case is ultimately dismissed. See Small Bus. in Transp. Coal.

v. United States Dep't of Transp., CV 20-883 (CKK), 2021 WL 7287302, at *1 (D.D.C. Mar. 21,

2021) (citing Loumiet v. United States, 225 F. Supp. 3d 79, 82 (D.D.C. 2016)); Jin v. Parsons

Corp., 966 F.3d 821, 828 (D.C. Cir. 2020) (stay motion to compel arbitration pending trial on

issue of arbitrability). The reason for the stay is to not expend resources unnecessarily.

        There would be a hardship in complying with this request for production. Plaintiffs have

requested everything. Communications about the 2020 election, anything about January 6, and

all communications relating to specifically referenced statements publicly made by other

defendants. The response to the requests would be onerous. Roger Stone receives unsolicited

emails and other public communications in the hundreds per day. People send articles, links to

blogs, and videos. Corralling all possible data for production will be extremely expensive. Then

human review of and categorizing the data would be extremely expensive and time consuming.

These are simply not resources a private citizen of limited means should be required to dedicate

at this time.

        The motions to dismiss have been pending for nearly a year. The time remaining for the

Court of Appeals to issue its opinion on Trump’s appeal and this Court’s subsequent ruling, is

small relative to the time already spent. Waiting for a ruling from this Court will save time and



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money of the parties. There is no issue of spoliation as it relates to Roger Stone.There is no

prejudice to the Plaintiffs that would result from this limited delay.

       Indeed, Trump’s position is correct that even if one party has no burden to participate in

discovery, but others do, the burden of participating in discovery remains for all regardless.

Trump, Mot. at 6. [ECF No. 170-1]. Requiring Stone to keep up with others’ discovery responses

requires Stone to spend resources on culling through the discovery production in response to

similar requests to all parties. The best and most efficient course of action is for the Court to

issue a protective order from discovery and stay discovery pending the outcome of this Court’s

ruling on the motions to dismiss.




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                                        CONCLUSION

        This Court should grant the motions for protective order and stay discovery pending this

Court’s orders on the motions to dismiss.




                                                     Respectfully submitted,

                                                   __/s/__Robert Buschel______
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                                   CERTIFICATE OF SERVICE

           I certify that on January 10, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send a notice of electronic filing to all registered

parties.

                                                  /s/ Robert Buschel
                                                  Robert C. Buschel
                                                  Counsel for Roger Stone




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